19 F.3d 12
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.SOUTH CAROLINA NATIONAL BANK, as the Trustee, Plaintiff Appellee,v.Gordon K. BILLIPP;  Elizabeth W. Billip, on behalf ofthemselves and all other persons similarlysituated, Plaintiffs,v.C. Donald STONE, Defendant Appellant,andJames A. Stone;  Buchanan &amp; Company;  Robert M. Buchanan;Unico Development Se;  United Medical &amp; Surgical SupplyCorporation;  C. Benjamin Smith;  Ann H. Smith;  Benan;Retirement Horizons;  Tom L. Sizemore;  John J. Bandy;Kenny O. Merritt;  Rickey Merritt;  J.W. Wakefield;  HaroldFleming;  Heritage Living Centers, Incorporated;  J.R.Randall;  Joanne J. Randall;  Parker &amp; Kotouc;  Thomas O.Kotouc;  Low &amp; Furby, a Partnership;  Whiteside, Smith,Jones &amp; Duncan, a Partnership;  May Zima &amp; Company,individually and as a Class Representative of a DefendantClass, Defendants.
    No. 93-2310.
    United States Court of Appeals, Fourth Circuit.
    Submitted Feb. 17, 1994.Decided March 7, 1994.
    
      Appeal from the United States District Court for the District of South Carolina, at Spartanburg.  William B. Traxler, Jr., District Judge.  (CA-88-791-7-21).
      C. Donald Stone, appellant pro se.
      William Llewellyn Pope, Pope &amp; Rodgers, Columbia, SC;  David Russell Donaldson, Ritchie &amp; Rediker, Birmingham, Alabama, for appellee.
      D.S.C.
      DISMISSED.
      Before RUSSELL,* MURNAGHAN and WILLIAMS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's decision to take certain motions under advisement.  We dismiss the appeal for lack of jurisdiction because the order is not appealable.  This Court may exercise jurisdiction only over final orders, 28 U.S.C. Sec. 1291 (1988), and certain interlocutory and collateral orders, 28 U.S.C. Sec. 1292 (1988);  Fed.R.Civ.P. 54(b);   Cohen v. Beneficial Industrial Loan Corp., 337 U.S. 541 (1949).  The order here appealed is neither a final order nor an appealable interlocutory or collateral order.
    
    
      2
      We dismiss the appeal as interlocutory.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    DISMISSED
    
      
        *
         Judge Russell recused himself from a consideration of this appeal.  The decision is filed by a quorum of the panel.  28 U.S.C. Sec. 46(d)
      
    
    